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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    AMYRIS, INC., et al.,1                                      Case No.: 23-11131 (TMH)

                                      Debtors.                  Jointly Administered

                                                                Obj. Deadline: April 2, 2024, 4:00 p.m. (ET)


    SIXTH MONTHLY FEE APPLICATION OF FTI CONSULTING, INC. FOR INTERIM
       COMPENSATION AND REIMBURSEMENT OF EXPENSES AS FINANCIAL
     ADVISORS TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
        THE PERIOD FROM FEBRUARY 1, 2024 THROUGH FEBRUARY 29, 2024

    Name of Applicant:                                      FTI Consulting, Inc. (“FTI”)
    Authorized to Provide Professional Services             The Official Committee of Unsecured
    to:                                                     Creditors (the “Committee”) of the above-
                                                            captioned debtors and debtors in possession
                                                            (collectively the “Debtors”)
    Date of Retention:                                      October 6, 2023 [Docket No. 487],
                                                            Effective as of August 30, 2023
    Period for Which Interim Compensation and               February 1, 2024 – February 29, 2024
    Reimbursement of Expenses Is Sought:                    (the “Compensation Period”)
    Total Amount of Interim Compensation                    $37,972.00
    Sought as Actual, Reasonable and Necessary
    (100%):
    Amount of Interim Compensation To Be Paid               $30,377.60
    Under Interim Compensation Procedures
    (80%):
    Amount of Interim Compensation To Be Held               $7,594.40
    Back Under Interim Compensation
    Procedures (20%):
    Amount of Reimbursement of Expenses                     $0.00
    Sought as Actual and Necessary:


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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
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    Total Interim Compensation and                              $37,972.00
    Reimbursement of Expenses Sought:
    Total Interim Compensation and                              $30,377.60
    Reimbursement of Expenses To Be Paid
    Under Interim Compensation Procedures:
    This is a monthly fee application.

          Pursuant to sections 330 and 331 of title 11 of the United States Code, Rule 2016 of the

Federal Rules of Bankruptcy Procedures, Rule 2016-2 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), and the Order Establishing Procedures for Interim Compensation and Reimbursement of

Expenses of Professionals [Docket No. 279] (the “Interim Compensation Procedures”), FTI, as

financial advisor to the Committee, hereby submits this Monthly Fee Application 2 for the

Compensation Period, and hereby requests that the Debtors promptly pay an aggregate amount of

$30,377.60, consisting of 80% of the $37,972.00 in fees earned.

                                                    Background

          1.       On August 9, 2023, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in this Court. On August 21, 2023 (with August 9, 2023, as

applicable, the “Petition Date”), three additional subsidiaries (Clean Beauty Collaborative, Inc.,

Clean Beauty 4U Holdings, LLC, and Clean Beauty 4U LLC) filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code in this Court.

          2.       On August 27, 2023, the Office of the United States Trustee for Region 3 (the “U.S.

Trustee”) filed the Notice of Appointment of Committee of Unsecured Creditors [Docket No. 152].

The Committee members are:




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      Capitalized terms used but not otherwise defined herein shall have the definitions ascribed to them in the Interim
      Compensation Procedures.


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                 a) Cosan U.S Inc;

                 b) U.S. Bank Trust Company, National Association as Trustee;

                 c) Sartorius Stedim North America, Inc.;

                 d) Hearst Magazine Media, Inc.;

                 e) Wiley Companies;

                 f) Park Wynwood, LLC, and;

                 g) Allog Participacoes, Ltda.

         3.      On August 30, 2023, the Committee selected FTI as its financial advisor.

         4.      On October 6, 2023, the Court entered the Order Authorizing Retention and

Employment of FTI Consulting, Inc. as Financial Advisor to the Official Committee of Unsecured

Creditors Effective as of August 30, 2023[Docket No. 487].

                                          Disbursements Incurred

         5.      Exhibit A sets forth a timekeeper summary that includes: (a) the name, title, year

of admission to practice (if applicable), and area of expertise of each individual who provided

services during the Compensation Period; (b) the aggregate hours spent by each individual for

which compensation is sought by FTI; (c) the hourly billing rate for each such individual; and (d)

the amount of fees for each such individual for which compensation is sought by FTI. The blended

rate for compensation requested in this Monthly Fee Application is approximately $1,107.06 per

hour.3

         6.      Exhibit B sets forth a project summary that includes the aggregate hours and fees

per project category spent by FTI timekeepers in rendering services to the Committee during the

Compensation Period.

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    The blended rate is calculated by taking the total of fees sought in this Monthly Fee Application and dividing by
    the total of hours sought in this Monthly Fee Application, rounded to the nearest dollar.


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        7.      Exhibit C sets forth the time records for FTI timekeepers for which compensation

is sought by FTI, setting forth a complete itemization of tasks performed in rendering services to

the Committee during the Compensation Period.

                                      Reservation of Rights

        8.      Although FTI has made every effort to include all fees earned and expenses

incurred during the Compensation Period, some fees and expenses might not be included in this

Monthly Fee Application due to delays caused by accounting and processing during the

Compensation Period. FTI reserves the right to seek payment of such fees and expenses not

included herein.

                                              Notice

        9.      FTI will provide notice of this Monthly Fee Application to the Notice Parties [see

Docket No. 279 ¶ 2.a] in accordance with the Interim Compensation Procedures.

                                  Certification of Compliance

        10.     The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

that, to the best of his knowledge, information, and belief, this Monthly Fee Application complies

with the requirements of that Local Rule. To the extent it does not, FTI submits that such variation

is insubstantial.

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Dated: March 19, 2024
       New York, New York




                                              Respectfully submitted,

                                              By: /s/ Clifford A. Zucker

                                              Clifford A. Zucker

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                                              Financial Advisor to the Official Committee
                                              of Unsecured Creditors




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